                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN

In re

MOOSE M. SCHEIB,
                                                         Case No. 21-42581
     Debtor.
______________________________/                          Hon. Mark A. Randon

KELLY SILVERA JARRETT,

        Plaintiff,

v.

MOOSE SCHIEB, a/k/a MUSTAPHA SCHIEB
a/k/a MUSTAPHA CHEAIB,

        Defendant.


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PAUL F. DOHERTY (P36579)
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                                     COMPLAINT

        Plaintiff, through undersigned counsel, states for her Adversary Complaint

as follows:


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                                    Jurisdiction

      1.      This is an adversary proceeding in which the Plaintiff is objecting to

the discharge of the debt debtor admits is owed to her; additionally, Plaintiff seeks

money damages for debtor’s fraud and conversion as stated herein.

      2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

      3.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I) and (J).

      4.      Venue is proper pursuant to 28 U.S.C. § 1409(a)

                                 Background Facts

      5.      Plaintiff holds dual British and Jamaican, W.I. citizenship and resides

in Jamaica.

      6.      Defendant MOOSE SCHIEB, aka MUSTAPHA SCHIEB aka

MUSTAPHA CHEAIB (hereinafter collectively “SCHEIB”) resides and conducts

business in Wayne County, Michigan and is an attorney licensed or who was

licensed by the State of Connecticut.

      7.      In or about 2014, Plaintiff became acquainted with Defendant SCHIEB;

among other things, SCHEIB represented he was an attorney and “EB-5 Agent for

the Middle East” a designation he claimed was given by Michigan’s Governor, Rick

Snyder.




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      8.     Plaintiff made Defendant SCHEIB aware of her desire to obtain a Green

Card and immigrate to the United States, mainly to further the education of her

children.

      9.     Defendant SCHEIB represented to Plaintiff that he had unique and

valuable immigration contacts which he could take advantage of on Plaintiff’s behalf

so to assist her in obtaining a visa for her and her sons so that they could immigrate

to the United States.

      10.    The EB-5 program was created by Congress in 1990 to stimulate the

U.S. economy through job creation and capital investment by foreign investors. All

EB-5 investors must invest in a “new commercial enterprise” before an immigrant

can obtain EB-5 classification. There are many accredited, legitimate Regional

Centers throughout the United States through which money can be invested for this

purpose.

      11.    At or about the time Defendant SCHEIB learned of Plaintiff’s interest

in the EB-5 program and her likely ability to raise at least $500,000.00, Defendant

SCHEIB formed Defendant CBIG CCS, LLC, the purported and represented

purpose of which was to accept money so “to create a reliable network to represent

potential future EB 5 Investors.” Among other things, CBIG CCS, LLC represented

it would “use worldwide internet advertising, and established Middle East and




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Northern Africa (“MENA”) region relationships, to generate leads for EB-5

Regional Centers and EB-5 direct investment projects.”

      12.    At the time Defendant SCHEIB made the above representations, CBIG

CCS, LLC was not a going concern in that it had no assets, revenue or any on-going

business.

      13.    Defendant SCHEIB represented to Plaintiff the Texas Growth Fund, a

reputable EB 5 investment, was “over-subscribed” and, therefore, could not accept

funds from Plaintiff.     Defendant SCHEIB then recommended the money be

transferred to CBIG CCS, LLC which misrepresented qualified              as a “new

commercial enterprise.” In connection with these and other misrepresentations,

Defendant SCHEIB gave Plaintiff CBIG CCS, LLC’s “business plan” which, among

other things, included the representations about Defendant FLG. This “business

plan” was an entirely fictitious document which Defendant SCHIEB used to induce

Plaintiff to give him $500,000.

      14.    In reliance on Defendant SCHIEB’s misrepresentations, Plaintiff

transferred $475,000.00 on July 3, 2016 and $25,000.00 on December 15, 2016 to a

CBIG, CCS, LLC bank account.

      15.    Defendant SCHEIB was not authorized to use Plaintiff’s funds for any

purpose other than to obtain Plaintiff’s EB-5 classification.




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      16.    Defendant SCHEIB did not use the money transferred by Plaintiff to

create a “new commercial enterprise” or place it with an accredited Regional Center;

instead, Defendant SCHEIB converted the funds to his personal use.

                                    COUNT I
                                  CONVERSION

      17.    Plaintiff incorporates paragraphs 1-16 above.

      18.    Defendant SCHEIB obtained Plaintiff’s money without her consent;

that is, the money was entrusted to Defendant CBIG CCS, LLC for the sole purpose

of obtaining Plaintiff’s EB-5 classification.

      19.    Defendant SCHEIB diverted Plaintiff’s funds for his personal use

and/or to the use of other entities controlled by him. The bank records of CBIG

CCS, LLC disclose the regular and systematic withdrawal of the funds, often at the

rate of $60,000 to $80,000 per month, to fund the temporarily extravagant, but purely

made-up, lifestyle Defendant portrayed here and in the Middle East.

      20.    For example, Defendant SCHEIB has represented that the funds were

used in connection with his alleged efforts to sell a diamond, reportedly worth

upwards of $100,000,000, in the Middle East; while Defendant SCHEIB has never

presented any credible evidence that this was an actual event or transaction, Plaintiff

never consented to the diversion of her money from CBIG CCS, LLC or that her

funds could be used for anything other than to obtain her EB-5 classification.



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      21.    The acts/omissions of Defendant SCHEIB are a conversion of

Plaintiff’s funds entitling her to treble damages of $1.5 million, plus interest and

attorney fees. MCL 600.2919a.

      22.    As a direct, proximate and foreseeable result of Defendant’s

conversion, Plaintiff has sustained damages for which Defendant SCHEIB is

responsible as stated above.

                                     COUNT II
                                UNJUST ENRICHMENT

      23.    Plaintiff incorporates paragraphs 1-22 above.

      24.    Defendant SCHIEB, received a benefit from Plaintiff; namely,

$500,000.00.

      25.    An inequity will result to Plaintiff if Defendant SCHIEB is allowed to

retain the benefit.

      26.    Defendant SCHIEB has been unjustly enriched at Plaintiff’s expense.

      27.    As a direct, proximate and foreseeable result of Defendants’ unjust

enrichment, Plaintiff has sustained damages for which Defendants are responsible

as stated above.

                                  COUNT III
                        FRAUD AND MISREPRESENTATION

             28.       Plaintiff incorporates paragraphs 1-27 above.




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       29.      Defendant SCHEIB made material misstatements of fact to induce

Plaintiff to transfer $500,000.00 to Defendant CBIG CCS, LLC, an entity over which

he had total and complete control. These misrepresentations included:

       a. CBIG CCS, LLC was a legitimate “new commercial enterprise” as defined

             by the United States Citizenship and Immigration Services;

       b. he was an “EB-5 Agent for the Middle East” as designated he claimed by

             Michigan’s Governor, Rick Snyder; and

       c. Plaintiff’s money, $500,000.00, would only be used to obtain Plaintiff’s

             EB-5 classification.

       30.      Defendant SCHEIB made the foregoing and other representations

knowing them to be false or made the assertions recklessly without knowledge of

their truth as positive assertions and with the intent that they be relied upon by

Plaintiff.

       31.      Plaintiff relied on Defendant SCHEIB’s misrepresentations and, as a

direct consequence, suffered damages.

       32.      The conduct of Defendant SCHEIB was outrageous and in willful and

wanton disregard of Plaintiff’s rights entitling Plaintiff to exemplary damages of at

least $10 million.

       33.      Alternatively, Defendant SCHEIB failed to disclose the true state of

affairs concerning the status of CBIG CCS, LLC, including its lack of certification


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as a legitimate “new commercial enterprise” as defined by the United States

Citizenship and Immigration Services; its lack of working capital; its lack of any

business whatsoever; its lack of staffing or that it was otherwise simply a “pipe

dream” of Defendant SCHEIB and could not possibly be a productive or successful

venture.

      34.    As a direct and proximate result of Defendant SCHEIB’s wrongful

conduct as described herein, Plaintiff has sustained damage and is entitled to

compensation as requested herein.

                                COUNT IV
                           BREACH OF CONTRACT

      35.    Plaintiff incorporates paragraphs 1-34 above.

      36.    A contract existed between Plaintiff and Defendant SCHIEB, the terms

of which included that Plaintiff’s money would only be placed with an accredited

Regional Center or a legitimate “new commercial enterprise” as defined by the

United States Citizenship and Immigration Services and that in the event the money

could not be so placed, it would immediately be returned to Plaintiff.

      37.     Defendant SCHIEB failed to place Plaintiff’s with an accredited

Regional Center or a legitimate “new commercial enterprise” as defined by the

United States Citizenship and Immigration Services; nonetheless, Defendant has

failed to return Plaintiff’s money thus breaching the contract.



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        38.      Defendant SCHIEB had a duty to promptly return Plaintiff’s funds;

despite repeated requests, Defendant SCHIEB has refused and/or failed to return

Plaintiff’s funds thus breaching the agreement.

        39.      As a direct and proximate result of Defendant’s breach, Plaintiff has

sustained damages in the principal amount of $500,000.00 plus interest and attorney

fees.

   WHEREFORE, Plaintiff respectfully requests this Court make and enter a

Judgment against Defendant as follows:

        a. in the principal amount of $500,000 plus interest and attorney fees;

        b. that the principal amount be trebled to $1.5 million pursuant to MCL

              600.2919a;

        c. Plaintiff be awarded exemplary/mental anguish damages in an amount no

              less than $10 million; and

        d. any other relief, equitable or otherwise, to which Plaintiff is found to be

              entitled.



                                               Respectfully submitted,
                                               JOHNSON LAW, PLC

                                               By: /s/ Solomon M. Radner
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